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                                      2
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                                             Los Angeles, CA 90071
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                                      9
                                             Cellco Partnership d/b/a Verizon Wireless
                                             (erroneously sued as Verizon Wireless
                                     10      Services, LLC)
                                     11
633	West	Fifth	Street,	Suite	2800	




                                     12                               UNITED STATES DISTRICT COURT
    Los	Angeles,	CA	90071	
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                                     13                              CENTRAL DISTRICT OF CALIFORNIA
                                     14
                                     15     DAVID VACCARO,                               Case No.: 2:15-cv-09877

                                     16                 Plaintiff,                       [Removal from the Superior Court of
                                                                                         California for the County of Los
                                     17                 vs.                              Angeles, Case No. YC070941]
                                     18
                                            VERIZON WIRELESS SERVICES,                   DEFENDANT CELLCO
                                     19     LLC,                                         PARTNERSHIP D/B/A VERIZON
                                                                                         WIRELESS’S NOTICE OF
                                     20                 Defendant.                       REMOVAL PURSUANT TO 28
                                                                                         U.S.C. §§ 1331, 1441(C), AND 1446
                                     21
                                     22                                                  [FEDERAL QUESTION]

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                                                                              NOTICE OF REMOVAL
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                                      1            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                      2      THE CENTRAL DISTRICT OF CALIFORNIA:
                                      3            PLEASE TAKE NOTICE that Defendant Cellco Partnership d/b/a Verizon
                                      4      Wireless (erroneously sued as Verizon Wireless Services, LLC) (“Defendant”) hereby
                                      5      removes the action described below from the Superior Court of California for the
                                      6      County of Los Angeles, to the United States District Court for the Central District of
                                      7      California, pursuant to Sections 1331, 1441(c), and 1446 of Title 28 of the United
                                      8      States Code (“U.S.C.”). As set forth more fully below, this case is properly removed
                                      9      to this Court pursuant to 28 U.S.C. § 1441 because Defendant has satisfied the
                                     10      procedural requirements for removal and this Court has subject matter jurisdiction
                                     11      over this action pursuant to 28 U.S.C. § 1331. In support of this Notice of Removal,
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                                     12      Defendant states as follows:
    Los	Angeles,	CA	90071	
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                                     13      I.    THIS COURT HAS SUBJECT MATTER JURISDICTION PURSUANT
                                     14            TO 28 U.S.C. SECTIONS 1331 AND 1441
                                     15            On or about November 4, 2015, plaintiff David Vaccaro (“Plaintiff”) filed a
                                     16      Complaint in the Superior Court of California for the County of Los Angeles
                                     17      (“Superior Court”), entitled David Vaccaro v. Verizon Wireless Services, LLC, Case
                                     18      No. YC070941. In the Complaint, Plaintiff alleges, among other things, that
                                     19      Defendant called Plaintiff’s residential telephone numerous times during October
                                     20      2015. Complaint, ¶ 6. Based on these allegations, Plaintiff asserts two causes of
                                     21      action against Defendant: (1) violation of the Rosenthal Fair Debt Collection Practices
                                     22      Act (“RFDCPA”), Cal. Civ. Code §1788 et seq. and (2) violation of the Telephone
                                     23      Consumer Protection Act (“TCPA”) 47 U.S.C. § 227 et seq. The Complaint is
                                     24      attached hereto as Exhibit A, as required by 28 U.S.C. § 1446(a).
                                     25
                                                   Because this action arises under federal law (the TCPA), which can be
                                     26
                                             ascertained from the face of Plaintiff’s Complaint, this Court has original jurisdiction
                                     27
                                             pursuant to 28 U.S.C. § 1331. Further, this Court has supplemental jurisdiction over
                                     28
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                                                                                NOTICE OF REMOVAL
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                                      1      Plaintiff’s state law claim (the RFDCPA), which forms part of the “same case or
                                      2      controversy” pursuant to 28 U.S.C. § 1367(a). Specifically, like Plaintiff’s TCPA
                                      3      claim, Plaintiff’s RFDCPA claim also alleges that Defendant contacted Plaintiff
                                      4      numerous times during October 2015. Complaint, ¶ 6. Accordingly, this action may
                                      5      be removed to this Court pursuant to 28 U.S.C. § 1441.
                                      6      II.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                                      7            SATISFIED
                                      8            On or about November 4, 2015, Plaintiff filed this action in the Superior Court
                                      9      of California for the County of Los Angles. Defendant was served with the Complaint
                                     10      on November 24, 2015. This Notice of Removal is timely in that it was filed within
                                     11      30 days from the time Defendant had notice that the action was removable, and less
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                                     12      than a year after the commencement of the action. See 28 U.S.C. § 1446(b).
    Los	Angeles,	CA	90071	
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                                     13            The Superior Court of California for the County of Los Angeles is located
                                     14      within the United States District Court for the Central District of California, Western
                                     15      Division. See 28 U.S.C. § 84(c)(2). Thus, venue is proper in this Court because it is
                                     16      the “district and division embracing the place where such action is pending.” 28
                                     17      U.S.C. § 1441(a).
                                     18            In compliance with 28 U.S.C. § 1446(d), Defendant will serve on Plaintiff and
                                     19      file with the Clerk of the Superior Court a written notice of the filing of this Notice of
                                     20      Removal, attaching a copy of this Notice of Removal.
                                     21            No previous application has been made for the relief requested herein.
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                                                                                NOTICE OF REMOVAL
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                                      1            WHEREFORE, Defendant respectfully removes this action from the Superior
                                      2      Court of California for the County of Los Angeles to this Court pursuant to 28 U.S.C.
                                      3      §§ 1331, 1441 and 1446.
                                      4
                                                   DATED: December 23, 2015
                                      5
                                                                                   YU | MOHANDESI LLP
                                      6
                                      7                                            By       /s/ Brett B. Goodman
                                                                                        B. Ben Mohandesi
                                      8
                                                                                        Jordan S. Yu
                                      9                                                 Brett B. Goodman
                                                                                        Attorneys for Defendant
                                     10                                                 Cellco Partnership d/b/a Verizon Wireless
                                                                                        (erroneously sued as Verizon Wireless
                                     11                                                 Services, LLC)
633	West	Fifth	Street,	Suite	2800	




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    Los	Angeles,	CA	90071	
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                                                                              NOTICE OF REMOVAL
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                                      1                                      PROOF OF SERVICE
                                      2             I am a resident of the State of California, over the age of eighteen years, and not
                                      3      a party to the within action. My business address is Yu | Mohandesi LLP, 633 West
                                             Fifth Street, Suite 2800, Los Angeles, CA 90071. On December 23, 2015, I served
                                      4      the following document(s) by the method indicated below:
                                      5
                                               DEFENDANT CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS’S
                                      6        NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1331, 1441(C), AND
                                      7                                1446

                                      8            by transmitting via facsimile on this date the document(s) listed above to
                                                   the fax number(s) set forth below. The transmission was completed before
                                      9            5:00 p.m. and was reported complete and without error. Service by fax was
                                                   ordered by the Court.
                                     10
                                              X    by placing the document(s) listed above in a sealed envelope with postage
                                                   thereon fully prepaid, in the United States mail at Los Angeles, California
                                     11            addressed as set forth below. I am readily familiar with the firm’s practice
                                                   of collection and processing of correspondence for mailing. Under that
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                                     12            practice, it would be deposited with the U.S. Postal Service on that same
    Los	Angeles,	CA	90071	
    YU	|	MOHANDESI	LLP	




                                                   day with postage thereon fully prepaid in the ordinary course of business.
                                     13            by placing the document(s) listed above in a sealed envelope(s) and by
                                                   causing personal delivery of the envelope(s) to the person(s) at the
                                     14            address(es) set forth below.
                                     15            by having the document(s) listed above hand-delivered to the person(s) at
                                                   the address(es) set forth below.
                                     16            by placing the document(s) listed above in a sealed envelope(s) and
                                                   consigning it to an express mail service for guaranteed delivery on the next
                                     17            business to the address(es) set forth below.
                                                   by emailing the document(s) listed above to the person(s) at the address(es)
                                     18            set forth below.
                                     19
                                             Plaintiff’s Counsel
                                     20      Todd F. Friedman
                                     21      Adrian R. Bacon
                                             Law Offices of Todd M. Friedman, P.C.
                                     22      324 S. Beverly Dr. #725
                                     23      Beverly Hills, CA 90212

                                     24            I declare under penalty of perjury under the laws of the State of California that
                                     25      the above is true and correct. Executed on December 23, 2015, at Los Angeles
                                             County, California.
                                     26
                                     27
                                                                                     ___________________________________
                                     28                                                           Diana Choe
                                                                                       –5–
                                                                              CERTIFICATE OF SERVICE
